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EXHIBIT A
                         Case 4:21-cv-02041-KM Document
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1                  IN THE UNITED STATES DISTRICT COURT                   1                                 INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                        2    TYSON HAVENS                 DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                   :
3                 Plaintiff                                              3    Examination by:
                                        :
4                                                                        4     Mr. Gryskewicz                  4           --       --       --
          vs.                           :
5                                                                        5     Mr. White                      --           51       --       --
                                        :
6    KEVIN DENT, TYSON HAVENS,              CASE NO. 4:21-CV-02041       6
     JOSHUA BELL, CLINTON               :
7    GARDNER, CHRISTOPHER                                                7
     KRINER, JOSEPH HOPE,               :
8    LYCOMING COUNTY, OLD                                                8
     LYCOMING TOWNSHIP; and             :
9    CITY OF WILLIAMSPORT,                                               9
                     Defendants         :
10                                                                       10

11                                                                       11

12                                                                       12

13              Deposition of:       TYSON HAVENS                        13                                 INDEX TO EXHIBITS
14              Taken by         :   Plaintiff                           14   FOR - PLAINTIFF                                       MARKED ADMITTED
15              Before           :   Ervin S. Blank                      15   Plaintiff's Exhibit No. 1                              24      --
                                     Reporter-Notary Public
16                                                                       16
                Beginning        :   March 22, 2024; 11:50 a.m.
17                                                                       17
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street              18
                                     Williamsport, Pennsylvania
19                                                                       19

20                                                                       20

21                                                                       21

22   COUNSEL PRESENT:                                                    22

23       LEONARD GRYSKEWICZ, JR., ESQUIRE                                23
         Lampman Law
24       2 Public Square                                                 24
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                            25


                                                                     2                                                                                4
1    COUNSEL PRESENT: (CONTINUED)                                        1                                      STIPULATION
2        AUSTIN WHITE, ESQUIRE                                           2                 It is hereby stipulated by and between
         McCormick Law Firm
3        835 West Fourth Street                                          3    counsel for the respective parties that signing,
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens              4    sealing, certification and filing are hereby waived;
5        SHAWNA R. LAUGHLIN, ESQUIRE                                     5    and that all objections except as to the form of the
         William J. Ferren & Associates
6        P.O. Box 2903                                                   6    question are reserved to the time of trial.
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner             7
                  and City of Williamsport
8                                                                        8                                         *   *        *
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                               9
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                      10                TYSON HAVENS, called as a witness, having
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                     11   been duly sworn or affirmed, testified as follows:
12                                                                       12                               DIRECT EXAMINATION
13                                                                       13   BY MR. GRYSKEWICZ:
14                                                                       14         Q      Have you ever been deposed before, Detective
15                                                                       15   Havens?
16                                                                       16         A      We went through this. I think maybe, but --
17                                                                       17         Q      Okay.
18                                                                       18         A      -- it's been a long time.
19                                                                       19         Q      I just always give you like some
20                                                                       20   instructions. I'm sure Attorney White already gave
21                                                                       21   them to you. If you don't understand a question I
22                                                                       22   ask, tell me, I can rephrase it. I'm going to give
23                                                                       23   you the courtesy of not interrupting you and allowing
24                                                                       24   you to fully answer my questions. If you could
25                                                                       25   provide me with the same courtesy when I ask


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1    questions. If you need a break or anything in any               1    interested in what we were doing and wanted to assist.
2    point, just let us know. Other than that, do you have           2         Q      Okay. And when you do involve the local
3    any questions?                                                  3    police department, do they ever conduct the
4            A   Nope.                                               4    investigation with you or is it more of a you need
5            Q   Okay. Could you state and spell your name           5    extra manpower?
6    for the record for us?                                          6         A      It's more we need extra manpower.
7            A   Tyson Havens. H-A-V-E-N-S.                          7         Q      Was Joshua Bell a full-time member of the NEU
8            Q   Where are you currently employed?                   8    in October of 2020?
9            A   The Lycoming County Narcotics Enforcement           9         A      Yes. As I recall it, then he was the
10   Unit.                                                           10   coordinator. He was a member of Williamsport City
11           Q   And you would agree that's referred to              11   Police Department.
12   oftentimes as the NEU?                                          12        Q      Um-hum.
13           A   Yes.                                                13        A      Detached from them and attached to us.
14           Q   And you can feel free to refer to it as the         14        Q      Um-hum.
15   NEU throughout your testimony. How old are you right            15        A      As the coordinator, essentially he was in
16   now?                                                            16   charge of the narcotics side of the house.
17           A   51.                                                 17        Q      Okay. And what were your normal duties as a
18           Q   How were you employed on October 1st of 2020?       18   detective with the NEU in 2020?
19           A   With the NEU.                                       19        A      Drug investigations. Running informants. We
20           Q   How long have you been a police officer, as         20   got -- we get involved in just about anything the
21   you sit here today?                                             21   District Attorney's Office wants us to get involved
22           A   Thirty years.                                       22   in. Homicides, gun related cases, high risk warrant
23           Q   And what's your rank with the NEU today?            23   services. A whole slew of things, but the majority of
24           A   Detective.                                          24   what we do for -- on a day-to-day basis is drug
25           Q   And what was your rank with the NEU in              25   investigations.

                                                                 6                                                                    8
1    October of 2020?                                                1         Q      Okay. I'm going to direct your attention to
2            A   Detective.                                          2    April 15th of 2020. According to a report I read from
3            Q   And when did you obtain the rank of detective       3    Detective Anderson, you were involved in a controlled
4    with the NEU?                                                   4    buy on that date wherein Matthew Sumpter sold eight
5            A   Upon hire in 2018.                                  5    suspected Gabapentin pills and three suspected
6            Q   Who was your supervisor in October of 2020          6    Suboxone pills to a confidential informant. Do you
7    with the NEU?                                                   7    remember being involved in that controlled buy?
8            A   Josh Bell and Mike Simpler.                         8         A      No. And I believe that in that case, my
9            Q   Did you have any subordinates at the NEU in         9    name's listed at the top --
10   October of 2020?                                                10        Q      Um-hum.
11           A   No.                                                 11        A      -- but I don't recall being part of that. I
12           Q   Can you describe how you would involve a            12   reviewed that report, and I didn't see that I had any
13   local police department, such as Old Lycoming                   13   involvement in it.
14   Township, in an NEU investigation typically?                    14        Q      That is correct. Would it be this -- I'll
15           A   Oftentimes when we conduct investigations in        15   show it to you. I only brought a copy to refresh your
16   an area where there is a local police department who            16   recollection -- the report dated April 15th, 2020?
17   might have interest in what we're doing, we involve             17        A      Yes.
18   them. And sometimes they choose to come out and                 18        Q      And you're referring to the top portion of
19   assist, sometimes they don't.                                   19   that report where it says your name, Havens there?
20               In a case where we are going to potentially         20        A      Law enforcement personnel involved, and I'm
21   do a buy bust or a search warrant or something like             21   listed as one of the law enforcement personnel
22   that and we're looking for manpower, we'll oftentimes           22   involved.
23   go to the local police department first, since it's in          23        Q      You don't have any independent recollection
24   their area, and say do you want to send anybody with            24   of that date?
25   us. And in this particular case, Old Lycoming was               25        A      No. And you should know that when we -- when


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1    we prepared these old style reports, at least when I             1    background check of the person whose house they intend
2    do, I go to the last report, pull it up and then I               2    to search?
3    change all the blocks and make it fit for my new                 3          A      Usually.
4    report.                                                          4          Q      Do you recall reviewing Mr. Sumpter's
5           Q    Um-hum.                                              5    criminal background before searching his house on
6           A    So it's -- I'm guilty of it. It's not                6    September 24th?
7    uncommon that we don't change the --                             7          A      No.
8           Q    Okay.                                                8          Q      Prior to September 24th, do you recall having
9           A    -- the names of the people involved at the           9    any interactions with Mr. Sumpter?
10   top.                                                             10         A      No.
11          Q    So it could be -- I guess let me ask you             11         Q      To the best of your recollection, did the
12   this. Do you just not remember being involved in it              12   police have any concerns for their safety out of the
13   or are you saying you weren't involved in it at all on           13   normal when they were going to search Sumpter's house
14   April 15th?                                                      14   on September 24th?
15          A    I'm saying I don't remember being involved in        15         A      We did not.
16   it, and I reviewed the report and it didn't refresh my           16         Q      If you found a burglary conviction on
17   recollection --                                                  17   somebody's criminal record, prior to serving a search
18          Q    Okay.                                                18   warrant on their house, would that give you any
19          A    -- so I don't believe I was involved in it.          19   concern for your safety in serving that search
20          Q    Okay. On September 23rd, 2020, Detective             20   warrant?
21   Dent interviewed a confidential informant that                   21         A      No.
22   provided him with information about Matthew Sumpter              22         Q      Do you recall what police officers were
23   that was then used for a search warrant of Matthew               23   involved at the search of 416 Brentwood Drive on
24   Sumpter's house the next day. Were you involved in               24   September 24th?
25   that interview of the confidential informant with                25         A      I do not.

                                                                 10                                                                     12
1    Detective Dent at all on September 23rd?                         1          Q      You said you recalled you might have detained
2           A    No.                                                  2    Sumpter with Detective Dent during that search?
3           Q    Then on September 24th of 2020, there was a          3          A      It -- I don't want to mislead you.
4    search warrant served at Matthew Sumpter's house at              4          Q      Um-hum.
5    416 Brentwood Drive. Were you involved in that                   5          A      I feel like I did, but I can't be certain.
6    search?                                                          6          Q      Okay. Did Detective Dent ever inform you of
7           A    Yes.                                                 7    what Mr. Sumpter told him when he interviewed him?
8           Q    Did you have any involvement in drafting the         8          A      Not directly, I don't believe.
9    search warrant application for 416 Brentwood Drive for           9          Q      Okay. So -- and definitely not on September
10   that day?                                                        10   24th, you would think?
11          A    No.                                                  11         A      September 24th, is that the date of the --
12          Q    Could you tell us what your role was in the          12         Q      That's the date that you and other served the
13   search then on September 24th, 2020?                             13   search warrant on Mr. Sumpter's house.
14          A    Executing the search warrant. I think                14         A      We may have talked about it.
15   detaining him. I remember making entry into the                  15         Q      Um-hum.
16   house. I assisted in the search. I don't know                    16         A      You know, we sit down at a table afterward
17   whether I found any of the pertinent items that were             17   and you have lunch and whatever. I'm sure we talked
18   found or not. It would be documented on the search               18   about it. But as far as me being officially briefed
19   warrant inventory receipt with my -- with 512 beside             19   on what he said, there would be no reason for me to be
20   it if I actually found any of the pertinent items.               20   officially briefed.
21          Q    Did you have any involvement in the interview        21         Q      Understood. So outside of some like
22   of Matthew Sumpter on September 24th, 2020?                      22   unofficial just small talk conversation, there
23          A    Not to my recollection.                              23   wouldn't have been any like briefing on September
24          Q    Okay. Would you agree with me that it's              24   24th, 2020 about it?
25   common practice of the NEU to run a criminal                     25         A      No, it just be basically keeping everybody in


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1    the loop.                                                        1          Q       Okay. And would you determine three grams to
2            Q   Okay. Do you know what was seized from               2    be a large quantity of Fentanyl or a small quantity of
3    Matthew Sumpter's house on September 24th?                       3    Fentanyl?
4            A   Not without looking at the report.                   4          A       Neither.
5            Q   Okay.                                                5          Q       Neither. Somewhere in between?
6            A   That page right there.                               6          A       Yes.
7            Q   I will -- you say it would refresh your              7          Q       Would you agree with me that no human could
8    recollection if I showed you the report?                         8    ingest three grams of Fentanyl in one day and live?
9            A   Um-hum.                                              9                  MR. WHITE: Objection to form.
10           Q   Feel free to page through it. Let me know            10                 MR. KOZLOWSKI: Same.
11   when you're done.                                                11                 THE WITNESS: Not necessarily. Oftentimes
12           A   Do you want me to read off the inventory             12   Fentanyl is cut as much as ten times, ten to one. If
13   receipt to tell you what we seized?                              13   it's cut really, really hard you probably -- it
14           Q   You don't have to read off of it, sir. Just          14   depends on your level, but it's possible, I guess. I
15   take a look through it, let me know if that refreshes            15   wouldn't want to try it.
16   your recollection at all.                                        16   BY MR. GRYSKEWICZ:
17           A   Yes.                                                 17         Q       But it would depend on the actual, I guess,
18           Q   And you said your number you would have wrote        18   drug seized and the person that took them?
19   next to any of those items would have been 512?                  19         A       Yes, and how -- how much the drugs were cut.
20           A   Correct.                                             20         Q       Okay. Did you know that Sumpter was involved
21           Q   So my look at this, it looks like 515 is the         21   in selling Fentanyl after searching the house on
22   one who seized all the items. Would you agree with               22   September 24th, 2020?
23   that?                                                            23                 MR. WHITE: Objection to form. You can
24           A   I do.                                                24   answer.
25           Q   Okay. So you wouldn't have seized any of the         25                 THE WITNESS: I don't know that.

                                                                 14                                                                      16
1    items from Mr. Sumpter's house?                                  1    BY MR. GRYSKEWICZ:
2            A   No, sir.                                             2          Q       Okay. So I -- did you know Anthony Barasky
3            Q   Would you have been aware that they seized           3    prior to September 24th, 2020?
4    Fentanyl from the house?                                         4          A       Yes.
5            A   Yes.                                                 5          Q       Could you tell us how you knew Anthony?
6            Q   From the reports it appeared that there was          6          A       I met Anthony in 2007 when I attempted to
7    roughly three grams of Fentanyl in total confiscated             7    traffic stop him and he fled from me. And ultimately
8    from Mr. Sumpter's house. In your experience as a                8    I traffic stopped him and had contact with him, and
9    police officer, is three grams of Fentanyl a                     9    arrested him for the traffic violations, and he was in
10   distribution quantity of Fentanyl?                               10   possession of marihuana and a large amount of cash.
11           A   You can't call something a distribution              11         Q       And that would have been when Mr. Barasky was
12   quantity without more details. Just -- because when              12   a juvenile?
13   it comes to having a certain amount, where your -- if            13         A       Yes.
14   you have a lot of money, per se, you may have personal           14         Q       And I believe we saw -- I saw a report from
15   use amount that's far more than my personal use amount           15   that where you discovered the marihuana under the
16   if I'm -- if I live in low income housing and I don't            16   driver's seat of the police vehicle in that case --
17   have a job and I have to steal every day to get my               17         A       Yes.
18   Fentanyl. If your family takes care of you, you may              18         Q       -- after Anthony was transported in the back
19   be able to have more.                                            19   seat?
20           Q   Okay.                                                20         A       Yes.
21           A   It depends on who the person is that's in            21         Q       After 2007, when's the next time you had
22   possession of the three grams, and there's so many               22   contact with Anthony Barasky?
23   other factors that come into play. I couldn't say                23         A       I'm -- I'm confident I had contact with
24   whether it's distribution or not, based on three                 24   Anthony Barasky on and off after 2007 as well. I just
25   grams.                                                           25   wasn't an arresting officer in any of his cases.


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1           Q   Um-hum.                                              1    slides sideways when it goes around a turn, it
2           A   But the next time I had contact with him             2    leaves -- it -- instead of the width of the tire, it
3    where I arrested him was 2016.                                  3    stretches that out.
4           Q   And what happened in 2016 when you arrested          4          Q     Okay.
5    him?                                                            5          A     So I could clearly see somebody recently came
6           A   I was working criminal interdiction, like            6    off of Blooming Grove and put yaw marks on Northway
7    crime suppression, full uniform in a marked state               7    Extension. Now, mind you, we don't even see him at
8    police vehicle. I was on High Street facing west at             8    this point. We're not following him, we're not --
9    Campbell, and Mr. Barasky was at the stop light at              9    we're not chasing him. Our lights are not even on.
10   Campbell facing me, and I saw it was Mr. Barasky. And           10               I radioed ahead. And knowing that Northway
11   he was in a vehicle with heavy window tint. Having              11   Extension comes out at Northway Road, I radioed ahead
12   probable cause to stop the vehicle, I attempted to              12   to another unit that was in the Northway Road area to
13   stop the vehicle as Barasky went north on Campbell.             13   say, be on the lookout for this vehicle. And within
14          Q   Um-hum.                                              14   second of that -- that trooper's name is Tyler Morris,
15          A   I went north on Campbell behind it. And as           15   he was calling out the pursuit as well. He was now
16   soon as I got behind him, he took off. He -- he                 16   chasing Barasky. Barasky went south on Northway Road.
17   accelerated. He turned west on Louisa and he                    17   Mind you, this is around noon.
18   proceeded to travel at speeds easily in excess of 80            18         Q     Um-hum.
19   miles an hour and he went through every stop sign the           19         A     Blew a red light across Four Mile Drive, at
20   whole length of Louisa. And somewhere around the area           20   which time Corporal Morris terminated the pursuit
21   of Fifth or Sixth he actually went airborne.                    21   because it was too dangerous, but he continued to go
22          Q   Um-hum.                                              22   in that direction.
23          A   We did not -- my partner and I at the time           23               When he got to Homewood Ave, there were
24   did not pursue. We might have went two or three                 24   firefighters at the fire station saying the car went
25   blocks, but it was too dangerous to even pursue him at          25   this way on Homewood. Trooper Morris went east on

                                                                18                                                                    20
1    that point because he wasn't -- he was blowing stop             1    Homewood and ultimately found Barasky's vehicle
2    signs.                                                          2    crashed through the block wall of Kmart. The vehicle
3               We radioed out who he was, what he was               3    was -- half of the vehicle was through the wall and
4    driving and to be looking for him, but -- and we                4    Barasky was no longer in it.
5    continued to go in the direction where he fled. If              5                Witness testimony led us to where Barasky had
6    you follow Louisa all the way to Cemetery, you can              6    fled and his flight path. There were multiple bags of
7    either go north or south. We went north on Cemetery             7    heroin found in the flight path stamped with the name
8    on a whim, just to see.                                         8    purge and a firearm in blue.
9           Q   Um-hum.                                              9          Q     And the firearm in blue, that was the stamp
10          A   That takes you up to Wildwood Cemetery. And          10   on the bag, not an actual firearm?
11   when we got to Wildwood Cemetery, there were some               11         A     Correct.
12   workers at the intersection of Cemetery and Wildwood,           12         Q     Okay. Sorry. Go ahead.
13   and they were just saying he went that way.                     13         A     Ultimately we captured Barasky near
14          Q   Um-hum.                                              14   Westminster Boulevard jumping a fence by Willard's
15          A   So we continued north on Cemetery to Blooming        15   Leather Store.
16   Grove, and there was somebody at Blooming Grove that            16         Q     Um-hum.
17   said their car just went flying up Blooming Grove, so           17         A     And I arrested him for that. The vehicle was
18   we wen north on Blooming Grove. When we got to the              18   towed from the scene. I got a search warrant for the
19   area of Northway Extension, I could literally see yaw           19   vehicle. Hidden in the dashboard in a natural void I
20   marks in the road where --                                      20   found a block of heroin, double sealed. We call it
21          Q   I don't mean to interrupt you. What do you           21   double sealed when it's in a plastic bag. Each
22   mean by yaw marks?                                              22   individual bag is in a -- in a blue glassine bag and
23          A   When a car slides sideways like this, it             23   then double sealed in a plastic bag.
24   leaves like striations. Like instead of like a skid             24         Q     Um-hum.
25   mark that's the width of the tire, when the tire                25         A     They were double sealed bags stamped purge


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1    with a -- with a blue firearm stamp, exactly the same           1    prior to the meeting at the Old Lycoming Township
2    as the bags found in his flight path, and I charged             2    Police Department. Do you recall that meeting at the
3    him with that.                                                  3    NEU?
4         Q     Okay. And to the best of your knowledge, was         4          A     Not really, but is that -- I'm assuming
5    Anthony convicted of crimes for that offense?                   5    that's the meeting to go out to grab Sumpter.
6         A     He was.                                              6          Q     Well, I think from what's been described to
7         Q     Was he sentenced to state prison for that?           7    me so far, there is two meetings. There was one at
8         A     As far as I know.                                    8    the NEU with just the NEU officers like yourself, and
9         Q     After 2016 when you arrested Anthony for             9    then there was one at the Old Lycoming Township police
10   that, did you have any other contact with Anthony?              10   station and that involved the local police as well.
11        A     I'm trying to think of the date. I think it          11         A     I'd only be speculating if I told you what
12   was -- I think the next time probably was this.                 12   happened at the NEU.
13        Q     This, I would represent to you, happened on          13         Q     So you just don't remember that meeting, you
14   October 2nd, 2020. Does that sound like --                      14   don't have an independent recollection of it?
15        A     Yeah.                                                15         A     I do not.
16        Q     -- the last time you had contact with him            16         Q     Okay. Do you recall that meeting at the Old
17   then?                                                           17   Lycoming Township Police Department?
18        A     Yeah, it would be this.                              18         A     Yes.
19        Q     Okay. In discovery we were given some text           19         Q     Okay. Could you tell us what occurred at
20   messages from Matthew Sumpter's phone between Matthew           20   that meeting at the Old Lycoming Township Police
21   Sumpter and allegedly Anthony Barasky. Did you ever             21   Department?
22   review any of those text messages?                              22         A     We had learned through Detective Dent that
23        A     No.                                                  23   Sumpter had arranged for a heroin delivery with
24        Q     Did Detective Dent ever relay to you what the        24   Anthony Barasky, and that Anthony Barasky was going to
25   contents of those messages were?                                25   be delivering heroin to Sumpter's residence in the

                                                                22                                                                   24
1         A     No.                                                  1    development -- I don't know the name of the
2         Q     Take you to October 2nd of 2020, then.               2    development, but it's on Miller Road. Because of my
3    Between September 24th of 2020, until October 2nd of            3    past experience with Barasky and others that were
4    2020, did you personally have any contact with Matthew          4    there that were familiar with Barasky, knowing his
5    Sumpter?                                                        5    propensity to flee, we had fear that if he got into
6         A     No.                                                  6    the neighborhood -- could I use your map?
7         Q     Do you know if Detective Dent had any contact        7          Q     Yeah, I was going to present it to you,
8    with Matthew Sumpter between September 24th and                 8    honestly, later in the -- I would just -- I'm going to
9    October 2nd?                                                    9    use your map. I think it's better, Attorney White.
10        A     I don't know.                                        10   That would just be identified as Plaintiff's Exhibit
11        Q     And how did you become aware that Detective          11   1.
12   Dent was planning an operation to arrest Barasky using          12               (Whereupon, a document was produced and
13   Sumpter as an informant on October 2nd, 2020?                   13   marked as Plaintiff's Exhibit No. 1 for
14              MR. WHITE: Objection to form. You can                14   identification.)
15   answer.                                                         15               THE WITNESS: Our fear was that when Barasky
16              THE WITNESS: I -- we were part of it. We             16   went on Miller Road and then turned into the
17   were -- oftentimes when we go out to do jobs, we go as          17   development, this Brentwood Road development, if we
18   an entire unit. And although we don't sit down at a             18   were to allow the heroin transaction to take place,
19   table and brief every time, we do say this is --                19   and then -- because that's the normal way we do a buy
20   whoever's running the operation usually says this is            20   bust. We let the transaction take place, and as the
21   what we're doing, this is what I'd like for you to do,          21   person's driving away, we attempt to stop them.
22   and that's how we do it.                                        22   BY MR. GRYSKEWICZ:
23   BY MR. GRYSKEWICZ:                                              23         Q     Um-hum.
24        Q     I know Captain Josh Bell described for us a          24         A     We felt that if we let him get into this
25   meeting that would have happened at the NEU office              25   residential neighborhood and we attempted to stop him


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1    and he fled, there was a good chance that he could              1          Q      Um-hum.
2    crash into someone's house or harm somebody, and we             2          A      -- it was going to be their job. And we
3    felt that we couldn't let that happen.                          3    might even had more than two. And some of them were
4         Q     Um-hum.                                              4    in this area over here on the -- on the northwest side
5         A     So rather than do the buy bust like we               5    of Eckard Road, just -- just to the east of Lycoming
6    normally would because of who we're dealing with, the           6    Creek Road.
7    meeting was to try to figure out how to best take               7          Q      Could you put a circle in that area for me?
8    Barasky into custody prior to the heroin transaction            8          A      (Witness complied.) And then we had units on
9    and arrest him for that.                                        9    Miller Road. When you turn off of Eckard Road onto
10        Q     Okay. So at the meeting you would have               10   Miller Road, there's a small bridge. And my
11   discussed, you know, we don't want him to go into this          11   recollection is the bridge is somewhere right near
12   development, we want to arrest him prior?                       12   Eckard Road. I'll put a little mark like that.
13        A     So at the meeting we would have discussed            13         Q      Okay.
14   where we're going to attempt to stop him --                     14         A      We had a unit on the east side of the bridge
15        Q     Um-hum.                                              15   on Miller Road to make sure that if Barasky fled, that
16        A     -- to minimize his ability to flee.                  16   he could not get into the development. And then we
17        Q     Um-hum.                                              17   had a unit on the north side of -- or we had a unit on
18        A     Who was going to stop him. Where the                 18   Eckard Road just north of Miller Road so that if for
19   undercover units were going to be stationed along the           19   some reason Barasky could get turned around in here,
20   way to spot him as he got there, and what roads we're           20   he couldn't flee north on Eckard Road. And obviously
21   going to have officers on to make sure that if he did           21   once Barasky committed to Eckard Road, there were a
22   somehow flee, that we could box him in that no                  22   number of units -- I think there were probably four or
23   civilian gets harmed in the process.                            23   five of us, following him up Eckard Road until he
24        Q     Okay. What officers were at that meeting at          24   committed to Miller Road.
25   the Old Lycoming Township Police Department?                    25         Q      Okay. And you say you don't remember which

                                                                26                                                                     28
1         A     Bell was there, Gardner, Kriner. There were          1    specific officers were stationed where?
2    more -- there are plenty of --                                  2          A      No, I do not.
3         Q     Do you remember if Chief Joseph Hope was             3          Q      Okay. Did you personally see or meet Matthew
4    there?                                                          4    Sumpter at all on October 2nd?
5         A     I believe so, yeah.                                  5          A      I don't recall.
6         Q     What about Detective Dent?                           6          Q      Were you present when Sumpter made any of the
7         A     I feel like Detective Dent was waiting with          7    phone calls or text messages to who he alleged was
8    Sumpter.                                                        8    Anthony Barasky?
9         Q     Okay. I'm going to give you my pen. Could            9          A      I don't recall.
10   you mark on that map where you were sitting when you            10         Q      How was it decided what role you would play
11   were waiting for Anthony Barasky to come? Just put              11   in arresting Anthony Barasky on October 2nd?
12   like a circle and an H where you were sitting.                  12         A      As these things play out and we -- we all
13        A     I'm not 100 percent sure, but in this general        13   talk them through, we often choose who does what.
14   area at the base of Eckard Road and Lycoming Creek              14   Like I probably said I will do this.
15   Road.                                                           15         Q      Okay.
16        Q     Okay.                                                16         A      So Bell was the coordinator, but in our unit
17        A     I was somewhere -- somewhere in there.               17   the coordinator doesn't necessarily say you're doing
18        Q     Could you put an H in the middle that circle         18   this and you're doing that and you're doing this.
19   for me?                                                         19   Oftentimes we'll -- I'll say, I got this part.
20        A     Yeah. (Witness complied.)                            20         Q      Um-hum.
21        Q     And then do you -- who was supposed to, as           21         A      Somebody else will say, I got this part, and
22   part of the plan, actually stop Anthony Barasky's               22   we put it all together that way. There's jobs that
23   vehicle?                                                        23   are put out there, guys will say, I'll take this job,
24        A     Not sure which person it was, but we had two         24   I'll take this job, I'll take that job.
25   unmarked police unit with lights and sirens --                  25         Q      So it's more of a collaborative effort?


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1          A     It's definitely a collaborative effort.              1    the bridge, the marked cars activated their lights.
2          Q     Okay. And would you -- and that -- is this           2    And as I recall it, the cars that were on the other
3    collaborative effort confined to just the NEU officers           3    side of the bridge moved in. The cars to the north
4    or would it also include the Old Lycoming Township               4    moved in. I parked as close as I could. I got out of
5    officers?                                                        5    the car as a hands free guy, and we proceeded to take
6          A     No, it would include them, too.                      6    Mr. Barasky out of the vehicle and place him under
7          Q     Okay. And would you rely on Old Lycoming             7    arrest.
8    Township's expertise in the local area where they're             8         Q     Could you put the map back in front of you,
9    from?                                                            9    sir. Could you mark on that map where the traffic
10         A     Expertise in what?                                   10   stop of Anthony's vehicle occurred? Where the vehicle
11         Q     The geography of the area.                           11   actually stopped, I should say.
12         A     I don't think that really came into play.            12        A     To the best of my recollection --
13         Q     Okay. Do you recall if Detective Dent might          13        Q     Um-hum.
14   have been on the phone relaying any information or               14        A     And it depends on where the bridge is in
15   instructions to the individuals at the meeting at the            15   here, but it's really close to Eckard Road. So I'm
16   Old Lycoming Township Police Department?                         16   just going to make a big circle.
17         A     That's my recollection, yes.                         17        Q     Okay. Do you remember if Anthony's vehicle
18         Q     And then when -- I guess you all eventually          18   actually turned onto Miller Road or if it was on
19   left the Old Lycoming Township Police Department to              19   Eckard Road when it stopped?
20   take your positions?                                             20        A     No, it turned onto Miller Road. We wanted --
21         A     Yes.                                                 21   we wanted to make sure that Anthony was heading to
22         Q     How were you in communication with each other        22   Sumpter's house.
23   at that point?                                                   23        Q     Um-hum.
24         A     Police radio.                                        24        A     If Anthony would have went north, we would
25         Q     Okay. Was Detective Dent also included on            25   have let him go.

                                                                 30                                                                  32
1    that police radio?                                               1         Q     Okay. And you would agree if he went north,
2          A     Yes.                                                 2    you wouldn't have known if he was going to Mr.
3          Q     So would Detective Dent have been relaying           3    Sumpter's house?
4    what he was learning from the text messages or Mr.               4         A     He couldn't have gone to Mr. Sumpter's house
5    Sumpter?                                                         5    if he went north. If he went north, then we'd have to
6          A     Yes.                                                 6    think that he's going either to do another drug
7          Q     Now, do you remember if you were the first           7    delivery or he's going to collect the drugs before he
8    officer to spot Anthony Barasky coming to that area              8    goes to Sumpter's house.
9    that day?                                                        9         Q     Okay. Now, you said you got out of your
10         A     I don't recall if I was or not.                      10   vehicle as the hands free officer. Could you tell us
11         Q     Could you tell us what happened when the             11   what that means?
12   traffic stop was initiated on Anthony's vehicle?                 12        A     It just means that if other officers go to a
13         A     I observed Anthony traveling west on Lycoming        13   firearm, they can give verbal commands to somebody and
14   Creek Road and I -- obviously I called it out. And               14   they're -- you need to have somebody that doesn't have
15   Anthony turned north on Eckard Road. I followed, but             15   a firearm in their hand to place handcuffs or use
16   I gave enough space for the unmarked police vehicles             16   hands to detain and arrest a person.
17   to get in front of me. Those vehicles came out of the            17        Q     Okay. So when you got out of your car, did
18   area that I described on Exhibit 1 and started to                18   the other officers have their firearms drawn?
19   follow Barasky north on Eckard Road. The plan was to             19        A     I don't recall if they did or they did not.
20   traffic stop -- to wait until Barasky committed to               20        Q     Do you recall if they were shouting commands
21   Miller Road and was committed to crossing the bridge             21   at Barasky to get out or anything else?
22   to initiate the traffic stop on him.                             22        A     I know they were shouting commands.
23               So I followed him north on Eckard Road               23        Q     And then what did you do at that point?
24   possibly two or three cars back. And when he got to              24        A     I opened up Mr. Barasky's car door and I
25   Miller Road, he turned east. And as he went to cross             25   removed him from the vehicle and I placed him under


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1    arrest, and I advised him of his Miranda rights.                 1           A     But I can tell you that I confirmed that it
2          Q     Was the door unlocked and you opened it or           2    was him before we all jumped out on the car and
3    did Anthony open it?                                             3    started following it north on Eckard Road.
4          A     I don't recall.                                      4           Q     And then the set plan, once you were
5          Q     Do you recall anybody trying to smash a              5    following him, was to stop him once he got to the
6    window on Mr. Barasky's car?                                     6    correct point on Miller Road?
7          A     No.                                                  7           A     We wanted him to commit to Miller Road
8          Q     Did Barasky resist you at all when you were          8    because he would have no other reason to go into that
9    placing him in handcuffs?                                        9    development other than to meet with Sumpter.
10         A     He did not.                                          10          Q     Do you recall Chief Hope ever calling out
11         Q     Did Barasky say anything to you when you were        11   over the radio that he didn't think Barasky was going
12   arresting him?                                                   12   to stop for him?
13         A     I think he invoked his right to have an              13          A     I don't.
14   attorney, I believe.                                             14          Q     And you said you would have been behind the
15         Q     Okay. And then at that point did you not ask         15   two other vehicles when the traffic stop was
16   him questions?                                                   16   initiated?
17         A     I passed him off. He was -- he was passed            17          A     Yes.
18   off to somebody in a police vehicle and they                     18          Q     So if there is a line of cars, it would have
19   transported him away.                                            19   been Barasky, one police vehicle, another police
20         Q     Do you recall who you passed him off to?             20   vehicle and then yours?
21         A     I do not.                                            21          A     Well, as we're driving north on Eckard Road,
22         Q     And do you recall if he would have been              22   that's -- that would've been the lineup.
23   placed in a NEU vehicle or an Old Lycoming Township              23          Q     Um-hum.
24   police vehicle?                                                  24          A     But once the traffic stop -- once the lights
25         A     I don't know that, either. NEU has -- we             25   lit up, more than likely I would have driven out

                                                                 34                                                                     36
1    have unmarked police vehicles, too, and it's likely              1    around and positioned my car as close to the traffic
2    that we had one of ours there as well.                           2    stop as possible.
3          Q     Do you recall what parts the other officers          3           Q     Okay. And that would have been to block
4    would have taken in arresting Anthony Barasky?                   4    Barasky in so he couldn't leave?
5          A     As far as what?                                      5           A     For anything that I might need to be close
6          Q     Like, for example, do you know if Joshua Bell        6    for.
7    pointed his firearm at Anthony or anything like that?            7           Q     Did you search Barasky's person at all when
8          A     I don't have any recollection of firearms            8    you arrested him?
9    being pointed.                                                   9           A     I don't recall.
10         Q     Okay. How long do you believe you waited at          10          Q     Were you informed that no drugs were found on
11   your staging point on Lycoming Creek Road before you             11   Barasky's person on October 2nd, 2020?
12   saw Barasky in his vehicle?                                      12          A     At some point I was, yes.
13         A     It's tough to say. It's been a long time.            13          Q     Did you know that Officer Bell called ahead
14   20 minutes.                                                      14   to the Lycoming County Prison to make sure Barasky was
15         Q     Okay.                                                15   placed in a dry cell?
16         A     It wasn't long.                                      16          A     I did.
17         Q     How did you know it was Barasky driving the          17          Q     Did you have any involvement in that
18   vehicle?                                                         18   discussion?
19         A     Well, I know him.                                    19          A     I don't recall if I did or not.
20         Q     So it's just you saw his actual face and             20          Q     Did you or any of the other NEU officers have
21   that's how you identified him?                                   21   any theories for why no drugs were found on Anthony
22         A     I definitely saw his face and identified him         22   Barasky?
23   that way. Is it possible that we were given                      23          A     Sure.
24   information what he might be driving? Yes.                       24          Q     What were they?
25         Q     Okay.                                                25          A     Could have been a number of things. In the


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1    case in 2016, had I not observed a piece of plastic              1    where. Because when you turn on the ventilation, if
2    loose on the dashboard of the car and a tool laying in           2    the trap's in the ventilation somewhere, the drug
3    the back of his car, I may have never found the nearly           3    scent is going to be throughout the car. The dog
4    200 bags of heroin that was concealed in the dash.               4    might hit in the back window of the car, and yet the
5    That's 2016. That was four years before this                     5    drugs are up in the dashboard. So you can't use a dog
6    happened.                                                        6    to pinpoint where the trap is.
7          Q     Um-hum.                                              7          Q     Okay.
8          A     He could have upped his game. I know                 8          A     Barasky could have changed his MO.
9    there's -- I don't know if you ever heard the term               9          Q     Um-hum.
10   trap, vehicles are trapped out.                                  10         A     It's not uncommon for these drug dealers to
11         Q     I'd like you to explain that term to us, sir.        11   go to the drug buyer, collect the money, leave, go get
12         A     You can take a vehicle to a shop that can put        12   the drugs and bring them back. Now, I know in this
13   a hydraulic trap in a car, and if they're                        13   case, according to Sumpter -- and this is not --
14   professionals at it, it's very difficult for you to              14   Sumpter didn't tell me this. I know this by reading
15   discover where that trap is. And a trap is a hidden              15   Dent's report, that Sumpter said that he dealt with
16   box that's operated by a hydraulic pump.                         16   Barasky approximately a hundred times and Barasky
17               And for instance, one that I found was               17   always does it the same way. He drives to the house,
18   mounted in the upholstery in a seat -- in the driver's           18   he meets him near the house, and Sumpter walks out of
19   seat, and when you -- we never found out -- we never             19   the house and meets him on street and the transaction
20   fingered out how to operate it. It was a series of               20   happens.
21   buttons on the dash. Like you turn the light on, you             21               That doesn't mean that we got unlucky in this
22   turn the radio on and you hit this button, and the               22   case and Barasky decided to do it different, and this
23   back of the seat will go (indicating) and open up and            23   time he was going to go meet with Sumpter, collect the
24   there's a whole compartment in there.                            24   money and go someplace to get it.
25         Q     Okay.                                                25         Q     Um-hum.

                                                                 38                                                                    40
1          A     The way I discovered it was I found some             1          A     That's an option. The other option is when
2    wires and I cut the wires and I put power, positive              2    he saw the two police cars -- this is quite a distance
3    and negative to the wires, and then switched it and              3    from -- I say quite a distance. It's probably half a
4    then it opened.                                                  4    mile or so, from Lycoming Creek Road to Miller Road.
5          Q     Okay.                                                5    Right when he turns onto Eckard Road, two unmarked
6          A     If they're done really professionally, you           6    police cars get out behind him. Now, he's going to
7    don't even see the wires. And then you also run into             7    know, having been involved with law enforcement since
8    these risks of how much of this car do I want to tear            8    at least 2007, he's going to know the cops are behind
9    apart and be liable for the damages to the car. So we            9    me.
10   try our best to try to see if there's any of these               10               Now, according to everybody there, nobody saw
11   traps in the car, but I'm certain throughout the                 11   anything fly out the window, but it's -- it's -- it's
12   course of my career I probably missed many, many,                12   a possibility that he chucked it out the window. I
13   many, many traps.                                                13   walked this whole section, along with other officers,
14               We looked for traps in that car. We didn't           14   and I didn't see anything, but it's wooded. And three
15   find any traps. So a trap -- my first theory is he               15   grams of Fentanyl in a little bag, it's not very big.
16   had a good enough trap in that car that we never found           16   We could have easily missed it.
17   the dope.                                                        17         Q     How long did you spend walking the whole
18         Q     Um-hum.                                              18   section looking for any discarded drugs?
19         A     And I should also state that if you're not           19         A     Enough time to walk from Miller Road down to
20   familiar with drug work, you might think, well, let's            20   the bottom and then turn around and walk back up.
21   put a drug dog in the car and the dog will show us               21         Q     Okay. So you didn't do multiple passes, it
22   where the stuff is.                                              22   was one pass on each side of the road, essentially?
23         Q     Um-hum.                                              23         A     My recollection was I was on the -- I was on
24         A     Not true at all. The dog's going to show you         24   the east side of Eckard Road and then somebody was on
25   that the stuff's in car. It's not going to tell you              25   the west side of Eckard Road.


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1          Q     Okay.                                                1    might have said over -- we carry two phones.
2          A     And it might have been multiple -- might have        2         Q     Um-hum.
3    been four of us, but I know there was at least one on            3         A     One phone we talk police radio stuff, the
4    one side and one on the other, and we walked all the             4    other phone we can make calls.
5    way down and we walked all the way back.                         5         Q     Okay.
6          Q     Okay.                                                6         A     He probably said over the police radio, hey,
7          A     But again, you're talking this is a small            7    watch the -- we call it the buy phone.
8    road. It's wooded. It's dirt on the sides. It's                  8         Q     Um-hum.
9    vegetation on the sides. We -- and again, when we                9         A     Watch the buy phone, I'm going to call it. I
10   walked this, we didn't know that Barasky didn't have             10   watched the buy phone and his number showed up on the
11   it tucked underneath his testicles or in his buttocks.           11   phone.
12   That's very common for drug dealers and you don't find           12        Q     Okay. And you took a picture of that, in
13   it until you strip search them.                                  13   fact, then, right?
14         Q     Um-hum.                                              14        A     Yes.
15         A     We don't know that it's in the car.                  15        Q     After that phone call, did you have any other
16         Q     Um-hum.                                              16   involvement in the investigation?
17         A     So we did our search. We did our due                 17        A     No.
18   diligence to make sure it wasn't in there, and we                18        Q     Did you have any involvement in Barasky's
19   didn't see it.                                                   19   arraignment?
20         Q     Okay. I know that you described a search of          20        A     No.
21   the vehicle some. Based on your experience with him              21        Q     And you would agree you weren't present at
22   in 2016 and how well the drugs were hidden, would you            22   the preliminary hearing?
23   agree you did a more thorough search of the vehicle              23        A     I don't recall.
24   you seized that day because of that?                             24        Q     Now, you would agree with me as part drug
25         A     I'm sure we did, yes. But that doesn't --            25   investigations, many times police will observe a drug

                                                                 42                                                                   44
1    that doesn't mean we're going to find it. I mean,                1    transaction that a confidential informant makes and
2    these -- I've gone to training with -- I think it was            2    then arrest the drug dealer at a later time?
3    a hid-a-training where they had some of these traps.             3         A     Yes.
4    And quite frankly, you're not going to find them.                4         Q     And even sometimes you don't arrest a drug
5    You -- you have to be lucky to see a mistake or to be            5    dealer until many months later?
6    smart tough to recognize some -- a particular type of            6         A     It works that way sometimes.
7    tape that doesn't belong.                                        7         Q     Why wasn't that type of option chosen for
8          Q     Um-hum.                                              8    Anthony Barasky in this case?
9          A     You know. That's why I say, I promise you            9         A     I can only speculate that it had something to
10   over the years I've probably missed more traps and               10   do with Sumpter.
11   hidden compartments than I found.                                11        Q     And I guess Detective Dent would be the
12         Q     Okay. After you handed off Barasky when he           12   person to ask that?
13   was arrested on October 2nd, did you have any move               13        A     Yes.
14   involvement with the investigation beyond that?                  14        Q     In your experience as a police officer, how
15         A     I went back to city hall and I was at city           15   many arrests have you made?
16   hall with Barasky's property, which included a                   16        A     I mean, it can be as many as 2,000.
17   cellular telephone. And while I was there, Detective             17        Q     And how many of those arrests would you
18   Dent called the number that Sumpter said he spoke to             18   estimate are for drug crimes, understanding it's an
19   Barasky on, and I observed Barasky's phone ring with             19   estimation?
20   Detective Dent's phone number on it.                             20        A     It's probably more than -- it's probably more
21         Q     And would Detective Bent have been on a              21   than 2,000. My drug arrests are probably 1,500 or
22   different phone speaking with you at that time when              22   more. I've been part of the NEU for -- coming up on
23   you were doing it?                                               23   six years now and we average 200, 250 a year.
24         A     Either he said over police radio -- and when         24        Q     Okay.
25   I say police radio, we use our phones for that, but he           25        A     So, I mean, it's a lot.


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1         Q     Okay. So I would assume you're familiar with         1    arrest a dealer?
2    criminal use of a communicate facility charge under             2          A     Not necessarily. Three or four buys may be
3    Section 7512 of the Crimes Code?                                3    to establish where the dealer is coming and going
4         A     I am.                                                4    from, establish their -- their -- the way they operate
5         Q     Could you explain to us when you, as a police        5    so that we can possibly get to where they -- their
6    officer, would believe that charge should be filed              6    distribution point so we can seize their drugs and
7    against a person?                                               7    their proceeds.
8         A     In this case where Barasky and Sumpter used          8          Q     Okay. When you placed Anthony Barasky into
9    telephones to arrange for a drug transaction, and then          9    handcuffs on October 2nd, 2020, what do you believe
10   the drug transaction was agreed that it was going to            10   the probable cause was at that point to support your
11   occur on Brentwood Drive, when Barasky drove from               11   arrest?
12   wherever he drove from up the creek road, up Eckard             12               MR. WHITE: Objection to form. You can
13   Road and committed to Miller Road, he's essentially             13   answer.
14   making a step to commit that violation, I believe that          14               THE WITNESS: Attempted delivery of a
15   that charge was correctly charged and I disagree with           15   controlled substance, that substance being Fentanyl.
16   Judge Butts' ruling in the case.                                16   BY MR. GRYSKEWICZ:
17        Q     Okay. In your career as a police officer,            17         Q     And would you refer back, then, to your
18   have you ever charged someone with criminal use of a            18   previous answer where you said the transaction was
19   communication facility and no other crime?                      19   arranged to turn onto Miller Road, et cetera?
20        A     I have not.                                          20         A     Yes.
21        Q     Have you ever charged someone with the               21         Q     And I don't want to put words in your mouth.
22   attempted delivery of a controlled substance?                   22   Is that previous answer you gave, I guess, the full
23        A     I have.                                              23   listing of what you believe to be probable cause at
24        Q     And this would be different than just                24   the time?
25   possession with intent to distribute, it would                  25               MR. WHITE: Same objection. You can answer.

                                                                46                                                                   48
1    actually be an attempted delivery?                              1                THE WITNESS: I believe that when Anthony
2         A     Yes.                                                 2    Barasky -- by Anthony Barasky agreeing to deliver the
3         Q     Yes. Okay. And you have charged that?                3    drugs to Sumpter, and the fact that Barasky committed
4         A     Yes.                                                 4    to Miller Road, that that act in and of itself was the
5         Q     Okay. How many times would you estimate you          5    probable cause.
6    charged that, if you can?                                       6    BY MR. GRYSKEWICZ:
7         A     I would have no idea.                                7          Q     Okay. So from your -- your opinion after no
8         Q     You've used confidential informants before in        8    drugs were found in any of the searches, that would
9    your career as a police officer, is that right?                 9    have no bearing on whether he committed the criminal
10        A     Yes.                                                 10   use of a communication facility?
11        Q     What are you taught through your training and        11               MR. WHITE: Same objection. You can answer.
12   experience to use those informants that you must do to          12               THE WITNESS: No, I feel like the criminal
13   make sure the informant is reliable in a drug case?             13   use of a communication facility should have stood. I
14        A     You could establish reliability with an              14   feel like that's -- it was charged properly in this
15   informant during the interview. If the informant has            15   case. I think that we could easily put Sumpter on the
16   information that can be corroborated through other              16   witness stand and say, what did -- have you ever
17   confidential informants, other police officers                  17   bought from Barasky before? Yes, I have. What have
18   personally observed things, personal knowledge. But             18   you bought? Fentanyl. When you were calling Barasky
19   oftentimes we build their credibility through drug              19   on the phone, was there any doubt in your mind that
20   buys. Information that they provide us, where we go             20   you were going to be -- when you ordered three, that
21   out and act on the information and we see what they             21   it was three grams of Fentanyl? No.
22   say we're going to see or we seize what they say we're          22               So in this case we have a guy ordering
23   going to seize.                                                 23   Fentanyl on the phone. We got a guy saying he'll
24        Q     Okay. And that might be a reason you have an         24   deliver the Fentanyl, and then we got a guy showing
25   informant do three or four buys before you actually             25   up.


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1    BY MR. GRYSKEWICZ:                                               1         A       No, I never met with him so I wouldn't know.
2          Q     Um-hum.                                              2         Q       Okay. Was your employment as a police
3          A     I feel that's a solid case of criminal use of        3    officer your only source of income in 2020?
4    a communication facility.                                        4         A       Yes.
5          Q     Okay.                                                5         Q       What was your annual salary in 2020?
6          A     And again, I disagree with Judge Butts's             6         A       This is a retirement job. I have no idea.
7    ruling.                                                          7                 MR. GRYSKEWICZ: Okay. I don't have any
8          Q     Would you agree with me that the NEU has             8    other questions. Thank you, Detective.
9    regulations for using confidential informants and                9                 MS. LAUGLIN: I don't have an questions.
10   sources?                                                         10                MR. KOZLOWSKI: I don't have any questions
11         A     Yes.                                                 11   for him.
12         Q     Is there a difference between a confidential         12                               CROSS-EXAMINATION
13   informant and a confidential source?                             13   BY MR. WHITE:
14         A     Yes.                                                 14        Q       I might have just a couple, Detective Havens.
15         Q     Could you tell us what that is?                      15   When you were -- you were testifying about how long it
16         A     Oftentimes a confidential source is somebody         16   took between something happening and you seeing Mr.
17   that gives us information but does not take an active            17   Barasky traveling. Do you know how -- what was the
18   role. So they may say, I was at so and so's house                18   event that occurred that that clock started ticking,
19   last night and I saw such and such on the table.                 19   so to speak?
20         Q     Um-hum.                                              20        A       That a phone call or a text message was made
21         A     If that confidential source has built                21   that Barasky was on his way.
22   reliability with us, I'll put their information in a             22        Q       And so that -- that was communicated to you
23   search warrant and we'll go and serve a search warrant           23   from Detective Dent?
24   on the house. That confidential source didn't                    24        A       Correct. Dent -- Detective Dent was with
25   necessarily come in, get strip searched by us, receive           25   Sumpter, and Sumpter was communicating with Barasky,

                                                                 50                                                                     52
1    money from us, get transported to a place where the              1    and Detective Dent was giving us the blow by blow as
2    confidential informant or source goes in and makes a             2    it was happening. So we knew to be in our locations.
3    purchase, comes back out, gives us the drugs, gets               3    We -- and we knew when to start looking.
4    strip searched again and gets debriefed.                         4         Q       So that 20 minutes or so that you estimated,
5          Q     Um-hum.                                              5    that would be from the point that Detective Dent said
6          A     That's the role of a confidential informant.         6    he's on his way and then to when you actually had a
7    Confidential source is more an informational role, and           7    visual on Barasky?
8    they can arrange, for instance, for an undercover to             8         A       Correct.
9    go meet somebody. But they don't take -- they don't              9                 MR. WHITE: I don't have any further
10   take the steps that a confidential informant might               10   questions.
11   take, where a confidential informant's going to do               11                MR. GRYSKEWICZ: I don't have any follow up.
12   everything. Or they'll take -- they'll take an                   12                MS. LAUGLIN: I don't have anything.
13   undercover with him and both will do everything.                 13                MR. WHITE: All right. You're done.
14         Q     Okay. And were you aware of Mr. Sumpter's            14                THE WITNESS: Thanks.
15   criminal record before the -- Anthony Barasky's arrest           15                (Whereupon, the deposition was concluded at
16   on October 2nd, 2020?                                            16   12:44 p.m.)
17         A     No.                                                  17

18         Q     Were you aware that Mr. Sumpter never                18

19   provided information to law enforcement prior to                 19

20   October 2nd, 2020?                                               20

21         A     No.                                                  21

22         Q     Did you know Mr. Sumpter was using Fentanyl          22

23   on October 2nd, 2020? Actually, strike that. Do you              23

24   know that Mr. Sumpter was using some type of                     24

25   intoxicant on October 2nd, 2020?                                 25



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1    COUNTY OF UNION                       :
2    COMMONWEALTH OF PENNSYLVANIA
                              :
3

4               I, Ervin S. Blank, the undersigned Notary
5    Public, do hereby certify that personally appeared
6    before me, TYSON HAVENS; the witness, being by me
7    first duly sworn to testify the truth, the whole truth
8    and nothing but the truth, in answer to the oral
9    questions propounded to him by the attorneys for the
10   respective parties, testified as set forth in the
11   foregoing deposition.
12              I further certify that before the taking of
13   said deposition, the above witness was duly sworn,
14   that the questions and answers were taken down
15   stenographically by the said Ervin S. Blank, Court
16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17   to, and afterwards reduced to typewriting under the
18   direction of the said Reporter.
19              In testimony whereof, I have hereunto
20   subscribed my hand this 28th day of March, 2024.
21

22

23                                      __________________________
                                        Ervin S. Blank
24                                      Reporter-Notary Public
                                        My Commission Expires
25                                      January 28, 2025




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